                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE



  DAVID PITTINGTON,                                   )
                                                      )
                Plaintiff,                            )
                                                      )
  v.                                                  )   No. 3:14-cv-00397
                                                      )       REEVES/SHIRLEY
  GREAT SMOKY MOUNTAIN                                )
  LUMBERJACK FEUD, LLC,                               )
                                                      )
                Defendant.                            )



                              MEMORANDUM AND ORDER


         On August 7, 2017, the Honorable C. Clifford Shirley, United States Magistrate

  Judge, filed a 20-page Report and Recommendation [R. 97], in which he recommended

  that Pittington’s motion for attorney fees and litigation expenses [R. 78] be granted in part

  and denied in part. Specifically, the magistrate judge recommended that Pittington’s

  motion for attorney fees be reduced to $98,526.67, and his motion for litigation expenses

  be reduced to $3,330.10.

         This matter is before the Court for consideration of Pittington’s objections [R. 98]

  to the Report and Recommendation. As required by 28 U.S.C. § 36(b)(1) and Rule 72(b),

  Fed.R.Civ.P., the Court has now undertaken a de novo review of those portions of the

  Report and Recommendation to which Pittington objects. For the reasons that follow, the

  Court finds Pittington’s objections without merit and the objections will be overruled.




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         Pittington sued his former employer, defendant Great Smoky Mountain Lumberjack

  Feud, alleging violations of the Americans with Disabilities Act (ADA), Title VII, and the

  Tennessee Human Rights Act (THRA).                Pittington sought back pay, front pay,

  compensatory damages, non-pecuniary damages, punitive damages, and post-judgment

  interest, not to exceed $225,000. The case proceeded to trial before a jury. The court

  granted defendant’s motion to dismiss the ADA claims. The jury returned a verdict in

  plaintiff’s favor on the Title VII and THRA claims and awarded Pittington $10,000 in back

  pay damages, but no other damages. Following trial, Pittington filed a motion to amend

  the judgment or for a new trial on the issue of damages. The court granted the motion in

  part to allow prejudgment interest, but denied Pittington’s request for a new trial on

  damages.

         Pittington moves for an award of $163,443.00 in attorney fees and litigation costs

  of $12,051.28. As stated above, the magistrate judge recommended cutting the attorney

  fee award to $98,526.67, and the litigation costs award to $3,330.10. Pittington does not

  object to the magistrate judge’s $11,843.50 reduction of the attorney fee amount related to

  the proration of time spend on his wife’s lawsuit nor the reduction of expenses. Pittington

  only objects to the magistrate judge’s 35% reduction of the attorney fee award attributable

  to the “limited success” at trial. Pittington argues that this reduction is not warranted given

  his successful jury verdict. He also argues that the reduction is not warranted if he prevails

  on his appeal to the Sixth Circuit of the court’s order denying his motion for a new trial on

  the issue of damages.


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         As noted by the magistrate judge, the reasonableness of the hours expended and the

  rate charged therefore is determined by considering twelve factors: (1) time and labor

  required; (2) the novelty and difficulty of the questions presented; (3) the skill needed to

  perform the legal service properly; (4) the preclusion of employment by the attorney due

  to acceptance of the case; (5) the customary fee; (6) whether the fee is fixed or contingent;

  (7) time and limitations imposed by the client or the circumstances; (8) the amount

  involved and the results obtained; (9) the experience, reputation, and ability of the

  attorneys; (10) the “undesirability” of the case; (11) the nature and length of the

  professional relationship with the client; and (12) awards in “similar cases.” Isabel v. City

  of Memphis, 404 F.3d 404, 415 (6th Cir. 2005). The most critical factor in determining the

  reasonableness of a fee award is the degree of success obtained. Id.

         The magistrate found that, although Pittington succeeded on this Title VII and

  THRA claims, he was only awarded back pay in the total amount of $10,000.00. The jury

  did not award Pittington any front pay, compensatory damages, non-pecuniary damages,

  or punitive damages. In addition, the court directed a verdict in favor of defendant on his

  ADA claim. Based on these results, the magistrate judge found that Pittington was not

  entitled to the full amount of attorney fees requested. The court agrees.

         Case law is clear that a plaintiff’s degree of success is a factor to be considered in

  determining a fee award. Id. at 415-16. Pittington’s argument ignores the fact that he was

  awarded only one-fourth of the back pay he claimed. The jury failed to award him any front

  pay, compensatory damages, or punitive damages. In ruling on Pittington’s motion for

  new trial on the issue of damages, the court found it was not unreasonable to assume the
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  jury took the lack of specific evidence and Pittington’s extended periods of unemployment

  into consideration in determining the amount of back pay awarded. In light of the jury’s

  verdict, the court agrees with the magistrate judge that to award the full amount requested

  (approximately sixteen times the damages awarded) would be excessive considering

  Pittington’s limited success on the merits of his claim.

         The court will not entertain the parties’ arguments relating to settlement offers and

  negotiations. A plaintiff’s settlement strategy or settlement offers are not identified as one

  of the twelve factors to be considered in the determination of a reasonable fee award. See

  Hensley v. Eckerhart, 461 U.S. 424, 434 (1983).

         Finally, Pittington’s appeal of the court’s order affirming the jury award of damages

  has no bearing on the determination of fees. The factors considered by the court in making

  a fee determination do not include the possibility of a successful appeal by a plaintiff

  resulting in an increased damage award. Isabel, 404 F.3d at 416. Pittington has cited no

  authority allowing the court to award fees based on what might happen in the appellate

  court. Lastly, the court found Pittington’s arguments for an increased damages award to

  be without merit.

         After a careful review of the record, the Court is in complete agreement with the

  magistrate judge’s recommendation that Pittington’s motion for attorney fees and litigation

  expenses be reduced. Accordingly, the court ACCEPTS IN WHOLE the Report and

  Recommendation under 28 U.S.C. § 636(b)(1) and Fed.R.Civ.P. 72(b). It is ORDERED,

  for the reasons stated in the Report and Recommendation, which the court adopts and

  incorporates into its ruling, that Pittington’s objections to the R&R [R. 98] are
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  OVERRULED; his motion for attorney fees and expenses [R. 78] is GRANTED to the

  extent that Pittington is awarded attorney fees of $98,526.67 and litigation expenses of

  $3,330.10. In all other respects the motion is DENIED.

        Enter:



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                                          _____________________
                                                             __________________
                                          UNITED
                                          UNITED STATES
                                                   STAATESS DISTRICT
                                                            DIST
                                                               TRICCT JUDGE




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